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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                          CASE NO. 20-82236-CIV-CANNON/Reinhart

  UNITED STATES,

         Plaintiff,
  v.

  EVELYN SOLOMON
  by and through her Guardian Julia Solomon,

        Defendant.
  __________________________________________/

       ORDER GRANTING PLAINTIFF’S MOTION TO VACATE FINAL JUDGMENT
                  AND DIRECTING CLERK TO REOPEN CASE

         THIS CAUSE comes before the Court upon Plaintiff’s Motion to Vacate Final Judgment

  (the “Motion”) [ECF No. 72], filed on November 9, 2021. The Court has reviewed the Motion

  and is fully advised in the premises.

         As Plaintiff notes in its Motion, the Court entered Final Judgment in this case

  notwithstanding the presence of unresolved affirmative defenses in Defendant’s answer

  [ECF No. 9; ECF No. 67 (Final Judgment)]. The Final Judgment was therefore prematurely and

  erroneously entered, see Fed. R. Civ. P. 56(f)(3), and Defendant since has filed a Notice of Appeal

  of that Judgment [ECF No. 68].

         The question now is whether this Court, despite Defendant’s pending notice of appeal, has

  jurisdiction to grant Plaintiff’s Motion to Vacate the Final Judgment, which Plaintiff filed eight

  days after the Final Judgment was entered. The Court determines that it has jurisdiction to do so

  pursuant to Federal Rule of Appellate Procedure 4(a)(4)(B)(i). Fed. R. App. P. 4(a)(4)(B)(i). That

  rule provides, in pertinent part, that a notice of appeal “becomes effective to appeal a judgment or

  order . . . when the order disposing of the last remaining [motion specified under Rule 4(a)(4)(A)]

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  is entered,” Fed. R. App. P. 4(a)(4)(B)(i), and one of the specified motions in Rule 4(a)(4)(A) is

  the type of motion we have here—i.e., a “motion for relief under Rule 60 if the motion is filed no

  later than 28 days after the judgment is entered.” Fed. R. App. P. 4(a)(4)(A)(vi). By operation of

  Appellate Rule 4(a)(4)(B)(i), therefore, Plaintiff’s Rule 60 motion suspends the Notice of Appeal

  such that this Court retains jurisdiction to resolve Plaintiff’s pending Rule 60 motion.

          The Court is mindful of the Eleventh Circuit’s decision in Mahone v. Ray, 326 F.3d 1176

  (11th Cir. 2003), but finds it not to preclude the exercise of jurisdiction in this instance. In Mahone,

  the Eleventh Circuit concluded, in a case where plaintiff filed a Rule 60 motion five months after

  final judgment, that “following the filing of a notice of appeal district courts do not possess

  jurisdiction to grant a Rule 60(b) motion.” 326 F.3d at 1180. Mahone relied on Griggs v.

  Provident Consumer Discount Co., 459 U.S. 56, 58 (1982), which itself relied on a prior version

  of Appellate Rule 4. See Stansell v. Revolutionary Armed Forces of Colombia, 771 F.3d 713, 745–

  46 (11th Cir. 2014) (“Griggs was based on the language of an old version of Federal Rule of

  Appellate Procedure 4, which provided that a notice of appeal filed during the pendency of a [post-

  judgment motion] would have no effect. In 1993, Rule 4(a) was specifically amended in response

  to Griggs and now provides that a notice of appeal filed during the pendency of a [post-judgment

  motion] is simply suspended.”).

          In this case, as noted, the Government filed its Rule 60 motion before the 28-day period

  provided in Appellate Rule 4(a)(4)(B)(i); the text of that rule specifically provides that a notice of

  appeal “becomes effective to appeal a judgment” when the court resolves such a Rule 60 motion,

  Fed. R. App. P. 4(a)(4)(B)(i); and hence this Court retains jurisdiction to dispose of Plaintiff’s

  early Rule 60 motion. This resolution is supported by the advisory committee note to the indicative

  ruling procedure codified in Rule 62.1 of the Federal Rules of Civil Procedure. Fed. R. Civ. P.

  62.1. That rule applies when a district court lacks authority to rule on a post-judgment motion

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  because of a pending appeal, and it permits a district court in that position either to defer

  consideration of the motion, to deny the motion, or to indicate to the Court of Appeals that it would

  grant such a motion were the matter remanded back to district court. Id. As relevant here, the

  commentary to Rule 62.1 clarifies the scenario in this case, observing that a district court has

  authority, despite a pending appeal, to grant one of the specified motions listed in Appellate Rule

  4(a)(4) without invoking the indicative ruling procedure in Rule 62.1. See Rule 62.1 advisory

  committee’s note to 2009 adoption (“Appellate Rule 4(a)(4) lists six motions that, if filed within

  the relevant time limit, suspend the effect of a notice of appeal filed before or after the motion is

  filed until the last such motion is disposed of. The district court has authority to grant the motion

  without resorting to the indicative ruling procedure.”).

         For these reasons, the Court has jurisdiction to grant Plaintiff’s Motion to Vacate

  Judgment. 1

                                               CONCLUSION

         Accordingly, it is hereby

         ORDERED AND ADJUDGED as follows:

             1. Plaintiff’s Motion to Vacate Judgment [ECF No. 72] is GRANTED.

             2. The Judgment entered in favor of Plaintiff against Defendant Evelyn Solomon

                 [ECF No. 67] is hereby VACATED.

             3. The Clerk shall REOPEN this case.

             4. The parties shall file any motions for summary judgment addressing Defendant’s

                 second, third, and fifth affirmative defenses [ECF No. 9 pp. 4–5] on or before




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    In the event there were any doubt as to the Court’s exercise of jurisdiction to grant this Motion,
  the Court hereby states that it would grant the motion if a remand were necessary. Fed. R. Civ. P.
  62.1(a)(3).
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                 November 29, 2021. The parties shall file responses in opposition to the motions

                 for summary judgment on or before December 6, 2021. The parties shall file

                 replies supporting the motions for summary judgment on or before December 13,

                 2021.


          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 10th day of November

  2021.



                                                      _________________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE
  cc:     counsel of record




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